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                                    SOUSW€St key
                                                                                                                                                                                   National Headquarters
                                         DTOVralTIS
                                         1  O                                                                                                                                 6002JainLane.Auson78721

                                                                                                                                      512.462.2   18   I
                                                                                                                                                           •   fax:       5   12.462.2028 • www swkey org



Juan José Sánchez,      Ed.D.
El   Presidente/CEO
Austin, Texas
                                    06/27/2018
                                    RE:      Statement                 of Use of Building            at 419       Emancipation Ave, Houston                                   Texas

  Ollt ITilSSIOT)                                                                                                                             at 419           Emancípatíon. The
                                                        Southwest             Key Programs           has leased           a   building
 nuestra inisÍór2
                                    building             was         used    prior   as   a   shelter       and   Southwest             Key programs                      intends     on
Opening doors           to
                                    continuing to                     use the building          as a    shelter and           provide shelter services. Southwest
opportumty so
                                    Key Programs                      is   seeking   a    General Residential                 Operation license for ages 3-17 by the
individuals can
                                    State of Texas. The request                               for ages 3-17         is   to include all male and female
achieve their dreams.
                                    unaccompanied minors. Southwest                                         Key programs              complies         and meets all state of
Abriendo puertas              de    Texas licensing standards.                            The youth move freely                   in    groups         within              the program. The
oportunidad para              que   site     is  for the safety of children.
                                                       secure                                                     Our goal       is    to   reunify our minors with
todas las personas                                       .
                                    properly vetted family members.
logren sus sueños.



       board of
       directors
                                    Adriana Gutierrez,    , LPC-S
Victor Garza
Chair                               Regional Executive Director, Houston,                                     San        Antonio, Homestudy and Post Release
Fresno,   California                Program
                                    Southwest                    Key Programs
Orlando L Martinez
Vice Chair
Atlanta, Georgia

Catherine     Peña
Treasurer
Dallas,   Texas                     State of                     WAS                            EXHIBIT 8
                                    County              of       NYTlá
Rosa Sántis
Member
Austin, Texas                       Su             r     ed                      to bef          e      e   on this              day of            u            in        the year    201_¾_   by


Elizabeth Gonzales                                               y
Member
Austin, Texas

Anselmo Villarreal
Member                              Nota
Milwaukee,        Wisconsin



                                    FM       ceo

                                                             i   sion expires on               MY


                                                                                                                                            Pubt1c, State            of    Texas
                                                                                                                               Notary
                                                                                                                                Comm. E×pires 02-28-2021
                                                                                                                                  Notary ID 129327575
